       Case: 1:18-cv-04473 Document #: 41 Filed: 10/10/18 Page 1 of 4 PageID #:326



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


     ASHLEY PIERRELOUIS, Individually and
     On Behalf of All Others Similarly Situated,

                                  Plaintiff,           Case No.: 1:18-cv-04473

                   v.                                  CLASS ACTION

     GOGO INC., MICHAEL J. SMALL,                      Hon. Jorge L. Alonso
     OAKLEIGH THORNE, NORMAN
     SMAGLEY, BARRY ROWAN, and JOHN
     WADE,

                                  Defendants.




         ORDER APPOINTING MARIA ZINGAS AND DANIEL ROGERS AS LEAD
          PLAINTIFFS AND APPROVAL OF THEIR SELECTION OF COUNSEL


          Having considered the motion of Maria Zingas for Appointment as Lead Plaintiff and

Approval of Selection of Counsel, Daniel .Rogers’ Motion for Appointment as Lead Plaintiff and

Approval of Lead Counsel, the Joint Response of Daniel Rogers and Maria Zingas Regarding

Motions for Appointment as Lead Plaintiffs and Approval of Co-Lead Counsel, the Private

Securities Litigation Reform Act of 1995 (the “PSLRA”), and for good cause shown, the Court

hereby ORDERS as follows:

I.        APPOINTMENT OF LEAD PLAINTIFFS AND LEAD COUNSEL

          1.     Maria Zingas and Daniel Rogers (the “Movants”) have respectively moved this

Court to be appointed as Lead Plaintiff in the above-captioned action (the “Action”) and to approve

the counsel they each retained to be Lead Counsel.




                                                   1
     Case: 1:18-cv-04473 Document #: 41 Filed: 10/10/18 Page 2 of 4 PageID #:327



        2.      Movants are the only class members still actively seeking appointment as lead

plaintiff. After filing their respective motions, Movants have agreed to serve as co-lead plaintiffs

in the Action as to avert further delay and/or expense associated with unnecessary litigation at this

stage of the proceedings.

        3.      Having considered the provisions of Section 21D(a)(3)(B) of the PSLRA, 15

U.S.C. § 78u-4(a)(3)(B), the Court hereby determines that Movants are the most adequate plaintiff

and satisfies the requirements of the PSLRA. The Court hereby appoints Movants as the Lead

Plaintiffs to represent the interests of the class.

        4.      Pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, 15 U.S.C. § 78u-4(a)(3)(B)(v),

Movants have selected and retained the law firms of Levi & Korsinsky, LLP and Glancy Prongay

& Murray LLP to serve as Co-Lead Counsel and Ditommaso Lubin Austermuehle, P.C. to serve

as Liaison Counsel. The Court approves Movants’ selection of Co-Lead Counsel and Liaison

Counsel.

        5.      Co-Lead Counsel shall have the following responsibilities and duties, to be carried

out either personally or through counsel whom Co-Lead Counsel shall designate:

                a.      to coordinate the briefing and argument of any and all motions;

                b.      to coordinate the conduct of any and all discovery proceedings;

                c.      to coordinate the examination of any and all witnesses in depositions;

                d.      to coordinate the selection of counsel to act as spokesperson at all pretrial

conferences;

                e.      to call meetings of the plaintiffs’ counsel as he deems necessary and

appropriate from time to time;

                f.      to coordinate all settlement negotiations with counsel for defendants;




                                                      2
      Case: 1:18-cv-04473 Document #: 41 Filed: 10/10/18 Page 3 of 4 PageID #:328



               g.      to coordinate and direct the pretrial discovery proceedings and the

preparation for trial and the trial of this matter, and to delegate work responsibilities to selected

counsel as may be required;

               h.      to coordinate the preparation and filings of all pleadings; and

               i.      to supervise all other matters concerning the prosecution or resolution of the

claims asserted in the Action.

        6.     No motion, discovery request, or other pretrial proceedings shall be initiated or filed

by any plaintiffs without the approval of Co-Lead Counsel, so as to prevent duplicative pleadings

or discovery by plaintiffs. No settlement negotiations shall be conducted without the approval of

the Co-Lead Counsel.

        7.     Service upon any plaintiff of all pleadings, motions, or other papers in the Action,

except those specifically addressed to a plaintiff other than Co-Lead Plaintiff, shall be completed

upon service of Co-Lead Counsel.

        8.     Co-Lead Counsel shall be the contact between plaintiff’s counsel and defendants’

counsel, as well as the spokespersons for all plaintiff’s counsel, and shall direct and coordinate the

activities of plaintiff’s counsel. Co-Lead Counsel shall be the contact between the Court and

plaintiff and his counsel.

II.     NEWLY FILED OR TRANSFERRED ACTIONS

        9.     When a case that arises out of the subject matter of this action is hereinafter filed

in this Court or transferred from another Court, the Clerk of this Court shall:

               a.      file a copy of this Order in the separate file for such action;

               b.      mail a copy of this Order to the attorneys for the plaintiff(s) in the newly

filed or transferred case and to any new defendant(s) in the newly filed or transferred case; and

               c.      make the appropriate entry on the docket for this action.




                                                  3
       Case: 1:18-cv-04473 Document #: 41 Filed: 10/10/18 Page 4 of 4 PageID #:329



         10.   Each new case that arises out of the subject matter of the action that is filed in this

Court or transferred to this Court shall be consolidated with the Action and this Order shall apply

thereto, unless a party objecting to this Order or any provision of this Order shall, within ten (10)

days after the date upon which a copy of this Order is served on counsel for such party, file an

application for relief from this Order or any provision herein and this Court deems it appropriate

to grant such application.

III.     FILING OF AMENDED PLEADINGS

         11.   Lead Plaintiffs shall file an amended complaint with sixty (60) days after the entry

of this order appointing Movants as Lead Plaintiffs and approving their selection of counsel.



ENTERED:



10/10/18                              _________________________________________
                                      JORGE L. ALONSO
                                      UNITED STATES DISTRICT JUDGE




                                                  4
